   Case 2:22-cr-00325-DBB Document 1 Filed 09/07/22 PageID.1 Page 1 of 3



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                     IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH

 UNITED STATES OF AMERICA,                  INDICTMENT

        Plaintiff,                          VIOLATIONS:

        vs.                                 COUNT I: 18 U.S.C. § 2252A(a)(2)(A),
                                            (B) and (b)(l), DISTRIBUTION OF
· JONATHAN JARETH SOBERANIS,                CHILD PORNOGRAPHY;
                                            COUNT II: 18 U.S.C. § 2252A(a)(l) and
        Defendant.                          (b)(l), TRANSPORTATION OF CHILD
                                            PORNOGRAPHY.



                                                Case: 2:22-cr-00325
                                                Assigned To : Barlow, David
                                                Assign. Date: 9/7/2022
      The Grand Jury Charges:

                                     COUNT!
                          Distribution of Child Pornography
                     (18 U.S.C. § 2252A(a)(2)(A), (B) and (b)(l))

      Between, on or about August 2020 and March 2022, in the District of Utah and

elsewhere,

                        JONATHAN JARETH SOBERANIS,
    Case 2:22-cr-00325-DBB Document 1 Filed 09/07/22 PageID.2 Page 2 of 3




defendant herein, did knowingly distribute any child pornography, and material that

contained child pornography, as defined in 18 U.S.C. § 2256(8), that had been shipped

and transported in and affecting interstate and foreign commerce by any means,

including by computer, and attempted to do so; all in violation of 18 U.S.C. §

2252A(a)(2)(A), (B) and (b)(l).


                                      COUNT II
                          Transportation of Child Pornography
                           (18 U.S.C. § 2252A(a)(l) and (b))

       Between, on or about August 2020 and March, 2022, in the District of Utah and

elsewhere,

                          JONATHAN JARETH SOBERANIS,

defendant herein, did knowingly transport and ship child pornography, as defined in 18

U.S.C. § 2256(8), using any means or facility of interstate or foreign commerce, or in or

affecting interstate or foreign commerce by any means, including by computer, and

attempted to do so; all in violation of 18 U.S.C. § 2252A(a)(l) and (b).



                  NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 2253, upon conviction of any offense violating 18 U.S.C.

§ 2252A, the defendant shall forfeit to the United States of America: (i) any visual

depiction described in 2251, 2251A, or 2252, 2252A, 2252B, or 2260 of this chapter, or

any.book, magazine, periodical, film, videotape, or other matter which contains any such
                                             2
    Case 2:22-cr-00325-DBB Document 1 Filed 09/07/22 PageID.3 Page 3 of 3




visual depiction, which was produced, transported, mailed, shipped, or received in

violation of this chapter; (ii) any property, real or personal, constituting or traceable to

gross profits or other proceeds obtained from such offense; and (iii) any property, real or

personal, used or intended to be used to commit or to promote the commission of such

offense or any property traceable to such property. The property to be forfeited includes,

but is not limited to:

   • · Cell phone seized from Defendant at time of law enfor~ement contact

                                                   A TRUE BILL:




TRINA HIGGINS
United States Attorney




 pecial Assistant United States Attorney




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